         Case 2:19-cv-00067-BSM Document 24 Filed 10/06/21 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                              DELTA DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                          CASE NO. 2:19-CV-00067-BSM

DANIEL K. BILLINGSLEY;
STEPHANIE BILLINGSLEY;
PARTNERS BANK, FORMERLY
HELENA NATIONAL BANK
AND JOHN SAIN
                                                                            DEFENDANTS

                 ORDER CONFIRMING MARSHAL’S SALE AND
                      APPROVING MARSHAL’S DEED

       The United States Marshal’s report of the sale conducted in satisfaction of the

judgment entered on September 30, 2020, has been filed. According to the report, the time,

terms and place of the sale were advertised as required by law in a newspaper regularly

issued and having general circulation in Lee County, Arkansas, for four consecutive weeks,

the last publication being on November 2, 2020. Moreover, the sale was held at the Lee

County Courthouse, Marianna, Arkansas, on December 3, 2020 at 10:30 a.m., in conformity

with the judgment. At that sale, the property was sold to Jeff Hill for $37,133 because that

was the highest bid.

       IT IS, THEREFORE, ORDERED that the actions of the Marshal in advertising and

selling the property are, in all respects, approved and the purchase price of $37,133 shall be

paid to the United States of America as provided in the Order of Distribution. The United

States Marshal’s expenses in the amount of $659.15 are approved.
         Case 2:19-cv-00067-BSM Document 24 Filed 10/06/21 Page 2 of 2




       The Marshal’s Deed, a copy of which was submitted with his report of sale, is

approved. The Marshal is directed to immediately deliver the deed to the purchaser named

in his report of sale, and the purchaser should be given possession of the property. The Clerk

of this Court is authorized and directed to issue proper writs of assistance upon application,

directed to the United States Marshal, who shall proceed to place the purchaser in possession

of the property.

       IT IS SO ORDERED this 6th day of October, 2021.


                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE
